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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                   OXFORD DIVISION

ANTHONY CARR                                                                                        PETITIONER

V.                                                                                      NO. 3:19-CV-274-DMB

NATHAN CAIN, Mississippi
Corrections Commissioner; and
LYNN FITCH, Attorney General                                                                     RESPONDENTS


                                                      ORDER

          On December 6, 2022, the Court granted in part Anthony Carr’s “Motion to Stay and Abey

Proceedings”1 to allow Carr the opportunity to pursue relief in state court on an unexhausted claim

in his petition for a writ of habeas corpus. Doc. #47. The December 6 “Opinion and Order”

required Carr’s counsel to “file in state court a motion for appointment of counsel within thirty

(30) days.” Id. at 8.

          On December 14, 2022, the respondents filed a “Motion for Reconsideration” requesting

that the Court “enter a new order lifting the stay and denying Carr’s Motion to Stay and Abey these

proceedings in totality.” Doc. #48.2 Carr responded in opposition to the motion for reconsideration

on December 28, 2022. Doc. #51.3

          On December 30, 2022, Carr filed a “Motion for Partial Stay of Opinion and Order [Doc.

#47]” seeking (1) “a partial stay of the [December 6] Opinion and Order with respect to its




1
    Doc. #40.
2
 The respondents initially filed their supporting memorandum as an exhibit to the motion in violation of Local Rule
7(b)(2). See Doc. #48-1. After the Clerk of Court instructed them to file the brief as a separate docket entry, they did
so. See Doc. #50.
3
 In violation of Local Rule 7(b)(2)(B), Carr’s response included argument and authorities and was not accompanied
by a separate memorandum brief. See Doc. #51. At the Clerk of Court’s instructions, Carr refiled his response and a
separate memorandum brief the next day. Docs. #52, #53.
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requirement that [his] federal counsel move for appointment in state court by January 5, 2023;”

and (2) that “from the date of any order denying Respondents’ reconsideration motion … [his]

federal counsel be permitted an additional twenty-two (22) days to move for appointment in state

court.” Doc. #54. at 2. As cause, Carr cites the “pendency of Respondents’ request for the

overruling of the [December 6] Opinion and Order.” Id. Through an e-mail to the Court from his

counsel, Carr represents that his motion for partial stay is unopposed.

       Upon consideration, Carr’s motion for partial stay [54] is GRANTED. Should the Court

deny the respondents’ pending motion for reconsideration, Carr’s federal counsel must move for

appointment in state court within twenty-two (22) days of the entry of the order denying

reconsideration.

       SO ORDERED, this 6th day of January, 2023.

                                                     /s/Debra M. Brown
                                                     UNITED STATES DISTRICT JUDGE




                                                 2
